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  IT IS ORDERED as set forth below:



   Date: July 12, 2023
                                                           _________________________________

                                                                    Jeffery W. Cavender
                                                               U.S. Bankruptcy Court Judge

 ________________________________________________________________




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                               )
                                                     )       CASE NO. 22-54243-jwc
DORSEY LEON HAMMOND,                                 )
                                                     )
         Debtor                                      )       CHAPTER 7
                                                     )

  ORDER ALLOWING AND AUTHORIZING PAYMENT OF COMPENSATION TO
             LAMBERTH, CIFELLI, ELLIS & NASON, P.A.

         On June 6, 2023, Lamberth, Cifelli, Ellis & Nason, P.A. (“LCEN”) filed its First and Final

Application of Lamberth, Cifelli, Ellis & Nason, P.A., for Allowance of Compensation (the

“Application”)(Doc. No. 122) seeking allowance of fees in the amount of $5,093 for the period

beginning April 12, 2023, and ending May 18, 2023 (the “Subject Period”).

         On June 6, 2023, LCEN filed a Notice of Application for Approval of Fees of Debtor’s

Counsel, Deadline to Object and for Hearing (the “Notice”) pursuant to the Third Amended and

Restated General Order 24-2018. The Notice was served on all creditors and interested parties on

June 7, 2023. The Notice set the hearing on the Application for July 13, 2023 (the “Hearing”), and
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fixed the deadline for objections to the Application as July 3, 2023 (which is the first business day

that is more than 24 days from the service of the Notice).

        Notice of the opportunity to object and for Hearing was provided pursuant to the

procedures of the Third Amended and Restated General Order 24-2018 and no objection to the

Motion was filed prior to the objection deadline. The Court has considered the Application and all

matters of record, including the lack of objection thereto. Based on the foregoing, no further notice

or hearing is required, and the Court finds that good cause exists to grant the relief requested in

the Application. Accordingly, it is

        ORDERED that the Application is APPROVED; and it is further

        ORDERED that LCEN is hereby allowed fees in the amount of $5,093 for the Subject

Period; and it is further

        ORDERED that LCEN is hereby authorized to be paid the fees allowed hereunder from

the retainer held by LCEN as set forth in Rule 2016 Disclosure Statement of Compensation of

Attorney for Debtor (Doc. No. 110).

                                       [END OF DOCUMENT]

Prepared and presented by:

LAMBERTH, CIFELLI,
ELLIS & NASON, P.A.
Attorneys for Debtor

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Identification of parties to be served pursuant to BLR 9013-2 N.D. Ga.:

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Office of the United States Trustee, 362 Richard Russell Building, 75 Ted Turner Drive, SW,
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Lindsay P. S. Kolba, Office of the United States Trustee, 362 Richard Russell Building, 75 Ted
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Dorsey Hammond, 2251 Verna Drive, Decatur, GA 30034
